          Case 1:20-cv-00316-RCL Document 38 Filed 08/04/23 Page 1 of 6




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 MATTHEW L. HOPPOCK,

                 Plaintiff,

         v.
                                                              Civil Action No. 20-0316 (RCL)
 U.S. CITIZENSHIP AND IMMIGRATION
 SERVICES,

                 Defendant.


         DEFENDANT’S RESPONSE TO COURT’S ORDER TO SHOW CAUSE

        Undersigned counsel respectfully submits this response to the Court’s Order to Show

Cause “why he should not be held in contempt of court or otherwise sanctioned for failure to

comply with the Court's order to file a joint status report by 6/30/2023.” Order of July 26, 2023,

ECF No. 37. On account of an emergency hospitalization of counsel’s son that both caused counsel

to be unavailable to participate in the June 30, 2023, joint filing or to be alert to its passing without

Defendant’s affirmative participation, counsel respectfully requests that the Court’s Show Cause

Order be discharged. Counsel deeply regrets any inconvenience his lapse caused and assures the

Court and Plaintiff that it was neither the product of willful disregard of Court orders nor careless

calendaring, but an essentially involuntary response to traumatic events described below.

                      BACKGROUND AND PROCEDURAL HISTORY

        Plaintiff filed his complaint on February 5, 2020. ECF No.1. The lawsuit is based upon

three separate Freedom of Information Act (“FOIA”) requests. Defendant answered on April 13,

2020. ECF No. 11. After conducting searches for responsive records, it was determined that one

of Plaintiff’s very broad requests yielded some 23,000 pages. After negotiations between the

parties, the search was limited to six custodians, which still generated more than 10,000 responsive
         Case 1:20-cv-00316-RCL Document 38 Filed 08/04/23 Page 2 of 6




pages to be processed. Not only the volume of records, but also the large tranche of records that

required consultation by other agencies (over which Defendant could not always exert effective

control or influence), explain the years of active processing and review.

       By December 2022, Defendant had completed its production, including records submitted

for consultations to other agencies. ECF No. 30. The parties agreed to meet and confer in an

attempt to resolve the case without an unnecessary multiplication of the proceedings and report

back to the Court by February 10, 2023. Id. By March 13, 2023, Plaintiff had proposed, and

Defendant had substantially accepted, a manner of resolution of the matter, with only a single

record still in dispute. See ECF No. 32.

       The Court then dismissed the matter from the active docket, subject to reinstatement upon

application of either party within sixty days (i.e., by May 29, 2023), should settlement not have

been consummated by such time. ECF No. 33. Three days before that deadline, Plaintiff filed—

with Defendant’s consent—its Motion to Reinstate. ECF No. 34. It was not until May 25, 2023,

that Plaintiff provided Defendant with Plaintiff’s attorney’s billing records. Id. On May 31, 2023,

the Court reinstated the case, setting June 30, 2023, for the next joint status date. ECF No. 35.

                  RELEVANT FACTS: THE EVENTS OF JUNE 30, 2023

       On June 23, 2023, following weeks of time-consuming pre-surgical preparations and

testing, including a five-hour pre-operative appointment on June 21, 2023, counsel’s minor son

underwent brain surgery at Children’s National Medical Center in Washington, D.C. to address a

serious issue that had caused multiple seizures during the weeks after Plaintiff’s counsel provided

billing records on May 25, 2023. One week after surgery—on June 30, 2023—and while fully

medicated, counsel’s son suffered a grand mal seizure that was far worse than the nature, length




                                                 2
            Case 1:20-cv-00316-RCL Document 38 Filed 08/04/23 Page 3 of 6




and scope of the seizures whose eradication was the surgery’s purpose. Counsel’s son remained

hospitalized through the night and well into the next day, Saturday, July 1, 2023.

        Counsel’s son then was released with multiple prescriptions for new medications and

complex dosing and weaning instructions to be carefully followed over the next week. The tumult

and upset caused by his son’s medical condition simply blotted out any recollection of the deadline

such that counsel mind never passed back over it. That remained the case during the following

days of counsel’s hyper-vigilant focus on his son’s care and observation. Given the events of June

30 and the ensuing struggle counsel faced as he tried to get back on track of multiple matters once

his schedule finally was normalized as his son recovered, this matter regrettably was missed for a

period. 1

                                      LEGAL STANDARDS

        Courts have inherent authority to enforce their orders through the exercise of contempt

powers. Cobell v. Norton, 334 F.3d 1128, 1141 (D.C. Cir. 2003) (citing Chambers v. NASCO,

Inc., 501 U.S. 32, 43 (1991)). Contempt citations are to be issued with caution and “only when the

rules do not provide the court with sufficient authority to protect their integrity and to prevent

abuses of the judicial process.” Shepherd v. ABC, Inc., 62 F.3d 1469, 1472 (D.C. Cir. 1995)

(enumerating other court sanctions, such as fines, awards of attorneys’ fees and expenses and

disqualifications or suspensions of counsel).

                                           DISCUSSION

        Undersigned counsel respects the authority of the Court, as well as the importance of the

deadlines it sets for the fair and efficient administration of justice. Moreover, counsel greatly



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        Prior to the Court issuing the Order to Show Cause, the undersigned had made further
progress in considering Plaintiff’s fee demand. Specifically, on July 11, 2023, counsel emailed
Plaintiff’s counsel to alert Plaintiff that the agency was actively considering Plaintiff’s proposal.

                                                  3
          Case 1:20-cv-00316-RCL Document 38 Filed 08/04/23 Page 4 of 6




appreciates the importance of responding to communications from opposing counsel and of

collaborating to resolve issues where possible so as to minimize unnecessary litigation and to help

cases be brought to a timely end. Undersigned counsel regrets that, because of the events of June

30, 2023, Defendant did not participate in the filing that the Court had required to be made jointly.

But counsel’s unavailability was with just cause: it was involuntary.

       Undersigned greatly regrets having been unavailable to ensure that Defendant fully

participated in the joint filing. The essential information conveyed in the Plaintiff’s Status Report,

however, is correct despite Defendant’s inability to join it. The report accurately conveyed that

all issues but attorney’s fees are resolved and, relative to that sole remaining issue, that Defendant

first obtained Plaintiff’s necessary billing records on May 25, 2023.          It is obvious that a

counteroffer was not conveyed by June 30, 2023. But the status report filed by Plaintiff did, in

fact, convey the more salient detail that the medical emergency detailed above was not the reason

that a counteroffer has yet to be made. Specifically, in response to Plaintiff’s mid-June email

request for a status update, undersigned candidly conveyed that Defendant required additional time

beyond June 30, 2023, to consider Plaintiff’s demand and potentially propose a counteroffer – and

that some of that time relates to the agency’s own internal deliberations and approval processes.

       Undersigned counsel respectfully requests that the Court exercise its discretion to discharge

the Show Cause Order. As demonstrated, counsel’s oversight was not willful. It was the

involuntary result of overwhelming and extremely distracting personal circumstances. Happily,

in recent weeks counsel’s son’s condition has begun improving, and counsel has been able to return

to his professional obligations. Counsel and his client are actively evaluating Plaintiff’s proposal

to resolve the demand for attorney’s fees, and they anticipate responding in the coming days.




                                                  4
          Case 1:20-cv-00316-RCL Document 38 Filed 08/04/23 Page 5 of 6




Hopefully, the parties will be able to reach a mutually acceptable resolution of the fees issue and

thus bring this suit to a close.

        Counsel respectfully submits that neither contempt nor sanctions are necessary to ensure

compliance with this Court’s orders in this case. The pattern of counsel’s participation in all prior

status reports demonstrates as much. And because it was the unexpected and uncontrollable impact

of a serious medical emergency that caused the lapse here, neither contempt nor sanctions could

have prevented a different result in this instance.

        Accordingly, undersigned counsel respectfully requests that the Show Cause Order be

discharged. Although he will be on long-planned annual leave with his son, counsel further will

be sure to join with Plaintiff in submitting a joint status report by August 8, 2023, as ordered by

the Court.

Dated: August 4, 2023                          Respectfully Submitted

                                               MATTHEW M. GRAVES, D.C. Bar #481052
                                               United States Attorney

                                               BRIAN P. HUDAK
                                               Chief, Civil Division

                                           By: /s/ John Moustakas
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                                                  5
          Case 1:20-cv-00316-RCL Document 38 Filed 08/04/23 Page 6 of 6




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 SERVICES,

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                                     [PROPOSED] ORDER

       UPON CONSIDERATION of Defendant’s response to the Court’s order to show cause

of July 26, 2023, and the entire record herein, it is hereby

       ORDERED that the show cause order is DISCHARGED.



SO ORDERED:




_________________                                     ____________________________________
Dated:                                                ROYCE C. LAMBERTH
                                                      United States District Judge




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